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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 29, 2024, the foregoing was served by U.S. Mail and

  by email upon the following party at the mailing address it has registered with the Colorado

  Secretary of State.

           American Veteran Heating & Air
           150 Cascade Ct
           Unit B
           Colorado Springs, CO 80907
           Email: info@americanveteranheatingandair.com
           Defendant

                                            /s/ Richard S. Siegel
                                            Richard S. Siegel




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                SHEET METAL WORKERS
                SHEET                 LOCAL 9 PENSION
                            \ryORKERS LOCAL   PENSION TRUST
            COLORADO SHEET METAL WORKERS
            COLORADO              WORI(ERS LOCAL    HEALTH FUND
                                           LOCAL 9 HEALTH
                                  METAL WORKERS
            COLORADO STATE SHEET METAL
            COLORADO                              TRAINING FUND
                                        WORIGRS TRAINING

                                   POLICY FOR
                     COLLECTION
                     COLLECTION OF DELINQUENT CONTRIBUTIONS
                                              CONTRIBUTIONS

                                                  April2018
                                          Revised April 2018

                                              SECTION 1.

                                         GENERAL POLICY
                                         GENERAL

            is the
         It is      policy of
                the policy of the
                               theSheet Metal Workers
                                   SheetMetal             Local 99Pension
                                                Workers Local      Pension Trust,   theColorado
                                                                            Trust, the  Colorado Sheet
                                                                                                   Sheet
 Metal Workers Local 9 Health Fund, and  and the Colorado
                                                  Colorado State
                                                            State Sheet Metal Workers
                                                                  Sheet Metal             Training Fund
                                                                                Vy'orkers Training
 (collectively, ooFund"
 (collectively,   "Fund" or "Funds"), to collect   all employer
                                          collect all            contributions as they are due and to
                                                       employer contributions
 make such diligent and systematic efforts as as are appropriate under the circumstances
                                                                            circumstances to do so.

         If an
         If an employer
               employer ceases   to have
                          ceases to  have an obligation to
                                          an obligation   to contribute     the Fund
                                                             contribute to the  Fund under   the Trust
                                                                                      under the  Trust
 Agreement, a collective bargaining
 Agreement,                            agreement ("CBA"), or
                            bargaining agreement               or applicable       the employer
                                                                  applicable law, the   employer shall
                                                                                                  shall
          subject to this Policy
 remain subject                  with regard
                          Policy with         to the
                                       regard to             period during
                                                       timeperiod
                                                  the time                   which the
                                                                     during which   the employer
                                                                                         employer was
                                                                                                   was
 obligated
 obligated to contribute to the Fund.

       The Trustees of the Fund have the legal
                                           legal right to exercise
                                                          exercise all
                                                                   all remedies allowable under the
                                                                       remedies allowable
       Agreement, the Employee
 Trust Agreement,                                  Income Security
                                     Retirement Income
                        Employee Retirement                             Act of
                                                             Security Act   of 1974,  asamended
                                                                                1974,as   amended
 ("ERISA") and
           and other
               other applicable
                     applicable law,
                                law, including,
                                     including, but not limited to:

         1.
         1.      The right to establish aa date
                                           date on which contributions are due;

         2. The right to audit the financial
         2.                              financial records of
                                                           of the employers,
                                                                  employers, including
                                                                               including but not  limited
                                                                                             not limited
 to payroll ledgers, federal and
                             and state
                                 state tax returns, IRS
                                                     IRS Form   94ls and
                                                         Form 941s    and such
                                                                          such other
                                                                                other books
                                                                                      books and
                                                                                            and records
                                                                                                 records
    the employers
 of the                  arenecessary
        employers that are    necessaryfor forthe  auditorstotoascertain
                                               theauditors      ascertainthat
                                                                          thatthe   propercontributions
                                                                               theproper   contributions
 have been made;
             made;

         3.
         3.                                            program;
                 The right to establish a random audit program;

        4. The right to require
        4.                    require that
                                       that aa delinquent
                                                delinquent employer
                                                           employer pay the cost   of an
                                                                              cost of    audit, interest,
                                                                                      an audit,  interest,
 attorneys' fees, and any other
                  and any   other expenses
                                  expenses incurred         the Fund
                                               incurred by the        in determining
                                                                Fund in                    amount of a
                                                                         determining the amount
 delinquency and in collecting
                     collecting a delinquency;
                                  delinquency;

         5.
         5.      The right to recover liquidated damages;
                                                 damages;

         6. The right to require
        6.                             bond, aa letter
                            require aa bond,            of credit,
                                                 letter of          or aacash
                                                            credit, or    cashdeposit   in escrow
                                                                               deposit in   escrow as
                                                                                                    as
 security for prompt future payments
 security                   payments due from an    an employer
                                                        employer    that has
                                                                         has been
                                                                             been delinquent
                                                                                  delinquent    in its
                                                                                                   its
 contributions
 contributions to the Fund;
                      Fund;
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          7. The right to take any other steps
          7.                                                       all other
                                             steps and to perform all  other acts that are
                                                                                       are necessary in
            collect contributions
 order to collect   contributions due to the
                                         the Fund   inaatimely
                                              Fund in     timelyand
                                                                 andexpeditious
                                                                       expeditious manner,
                                                                                    manner,including
                                                                                              including
 filing liens; and

        8. The right
        8.                 toterminate
                     right to terminate aadelinquent
                                           delinquent employer's     participation in
                                                       employer's participation     in the Fund
                                                                                           Fund in
                                                                                                in
 appropriate
 appropriate circumstances,
             circumstances, as determined by the Trustees
                                                 Trustees in their sole discretion.
                                                                        discretion.

         The procedures set forth herein shall    followed unless the Board
                                         shall be followed            Board of
                                                                            of Trustees
                                                                               Trustees determines
                                                                                        determines
 that they should be waived in a particular instance.
                                            instance.

         For the purposes
                  pu{poses of this Policy,        Office" may refer to aa third
                                   Policy, "Funds Office"                              provider of
                                                                                 party provider
                                                                           third party
 services
 services to the Fund.

         All questions or
                        or disputes
                           disputes relating to the
                                                 the interpretation,  meanin g and/or
                                                      interpretation, meaning   andlot application
                                                                                       application of this
 policy shall be finally
                  finally and
                          and exclusively   resolved by the Board of Trustees
                               exclusively resolved                                    the exercise
                                                                         Trustees in the   exercise of its
 àiscretion and in the
 discretion          the performance
                         performance of itsits fiduciary
                                                fiduciary obligations       the Fund's
                                                            obligations to the           participants and
                                                                                Fund'sparticipants    and
 beneficiaries, in
 beneficiaries,         piotection of the financial
                 in the protection          financial integrity
                                                         integrity and soundness
                                                                       soundness   of  the  Fund
                                                                                           Fund   and
                                                                                                  and the
                                                                                                       the
 efficient and effective administration of the Fund.
                                                 Fund'

                                               SECTION 2.

                COLLECTION PROCEDURE
                COLLECTION            AND OTHER PROCEDURES
                           PROCEDURE AND        PROCEDURES IN
                            CASES    DELINQUENCY
                            CASES OF DELINQUENCY

        In accordance
            accordance with the Trust Agreement,
                                      Agreement, ERISA, and
                                                         and the above
                                                                 above declaration
                                                                       declaration of policy, the
                                                                                   of policy,
 following administrativ
 following                e steps shall be taken to effectuate the collection of delinquent
             administrative   steps shall be taken to effectuate the collection  of delinquent
 contributions.

          1. Contributions
          1.      Contributions and the
                                    the supporting
                                         supporting remittance         (collectively referred to herein
                                                    remittance report (collectively
                                                                  requires payment. If
    "Contributions") are due on the date the employer's CBA requires
 as "Contributions")                                                                  If the  CBA does
                                                                                          the CBA    does
      state aadue
 not state     duedate,    thenContributions
                     date,then  Contributions are
                                              are due   onthe
                                                   due on    thetwentieth
                                                                 twentieth (20`11)
                                                                            (201n) day  of the
                                                                                   day of     themonth
                                                                                                   month
 following the month in which work for  for which
                                            which contributions
                                                   contributions are
                                                                  ate due
                                                                      due is
                                                                          is performed    (either date to
                                                                             performed (either
     referrãd to as the "Due
 be referred                   Date").Contributions
                         "Due Date").  Contributions shall
                                                      shall become
                                                             become delinquent
                                                                     delinquent on
                                                                                 on the  fifth (5th)
                                                                                    the fifth   (5th) day
                following the Due Date.
 of the month following            Date.

         2. In the event the Contributions
         2.                      Contributions are not received by the Due Date,
                                                                           Date, and
                                                                                 and to the extent
                                                                                            extent
 practicable, in addition to the
 practicable,                the procedures
                                 procedures described
                                             described below, the Funds   Office may
                                                                    Funds Office may contact
                                                                                       contact the
 employer
 employer by telephone, to attempt to obtain payment of Contributions.
                                                          Contributions.

         3. If the delinquent Contributions
        3.                                                                     (5t5 day of the month
                                                                        hfth (51h)
                                 Contributions are not received by the fifth
 following the Due Date, the Funds
 following                           Office shall
                              Funds Office  shall send    written Notice
                                                  send aa written         to the
                                                                  Notice to   the employer
                                                                                   employer advising
                                                                                             advising
 the employer
     employer that the Contributions must be received immediately.
                                                       immediately.

         4. If
         4.       If the
                      thedelinquent
                          delinquent Contributions
                                      Contributions are          received by the
                                                       are not received         the Funds    Office by the
                                                                                     Funds Office        the
 fifteenth (15th)
           (15tn) day of the month in             first Notice referred
                                    in which the first           referred to in paragraph 33 is
                                                                             in paragraph     is mailed, the
         Offrce shall send aa second
 Funds Office                           Notice to
                                 second Notice   to the
                                                     theemployer
                                                           employer andand interest   shall accrue
                                                                            interest shall   accrue on the
                                                                                                         the
             Contributions from
 delinquent Contributions
 delinquent                   from the
                                   the Due
                                       Due Date at the rate     of 10%
                                                           rate of  I\Yo per
                                                                          per annum.
                                                                              annum' TheThe second
                                                                                             second Notice
                                                                                                     Notice
 shall
 shail advise
       ãdvise the employer that interest will accrue    from the Due
                                               accrue from         Due Date
                                                                        Date and
                                                                               and that
                                                                                   that its
                                                                                        its account
                                                                                            account will be


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 referred
 referred to Legal Counsel if payment
                                payment is not promptly
                                               promptly received,
                                                          received, as well as notify the employer
                                                                                            employer of
          consequences of non-payment,
 further consequences                        including late fees
                              non-payment, including           fees and  potentialtermination
                                                                     andpotential    termination fromfrom
 participation in the Funds. The employer shall be obliged to secure
 participation                                                   secure either
                                                                        either aa bond, letter
                                                                                         letter of
                                                                                                of credit,
                                                                                                   credit,
 or escrow
     escrow deposit, in the
                         the amount
                             amount specified
                                     specified in the employer's
                                                      employer's CBA      with Sheet
                                                                    CBA with    Sheet Metal
                                                                                        Metal Workers'
                                                                                                Workers'
 Local 9 (or, if none, in
                       in the
                          the agreement
                              agreement between
                                         between Local
                                                  Local 99 and
                                                            and SMACNA),
                                                                 SMACNA), and and on
                                                                                   on terms
                                                                                       terms acceptable
                                                                                              acceptable
    the Trustees,
 to the  Trustees, and  provide evidence
                   and provide   evidence of such
                                              such bond, letter of credit,   or escrow
                                                                     credit, or  escrow deposit
                                                                                          deposit to the
                                                                                                       the
              applicable bond, letter of credit, or escrow
 Funds. The applicable                              escrow deposit
                                                              deposit must remain in place       until the
                                                                                         place until   the
 employer has made timely contributions to the Funds for for 12
                                                             12 consecutive months.

         5. If
         5.       If the
                      the delinquent
                           delinquent Contributions
                                        Contributions are  are not    received by
                                                                not received           the fifth (5th) day of the
                                                                                  by the                              the
 second month following
                  following thethe Due
                                    Due Date,          fees will
                                           Date, late fees    will be assessed in the amount of 5%           5o/o of the
                                                                                                                      the
 contributions  due. The Funds
 contributions due.          Funds Office
                                     Office shall also refer the matter to Legal Counsel   Counsel as set forth in
 Section 3. The Funds Office will also   also notify
                                               notify the employer
                                                           employer that its its participation
                                                                                 participation in   in the
                                                                                                        the Funds
                                                                                                             Funds will
                             notify all
 be terminated and will notify      all affected
                                        affected employees
                                                   employees advising them of the potential loss           loss of
                                                                                                                of their
 benefits, if delinquent contributions
                            contributions and interest
                                                 interest are not received within 30       30 days.
                                                                                                days. Those
                                                                                                         Those notices
                                                                                                                 notices
 will advise the employer
                  employer that termination of    of its
                                                     its participation
                                                         participation will not      relieve itit of
                                                                                not relieve       of its
                                                                                                      its obligation
                                                                                                          obligation to
 pay contributions     pursuantto
      contributions pursuant      to the   terms of
                                      the terms   of the  relevant CBA.
                                                      the relevant    CBA. If  If the
                                                                                   the Funds
                                                                                        Funds do  do not
                                                                                                       not receive
                                                                                                            receive the
 contributions and interest in the
 contributions                     the 30-day
                                        30-day period, the the Funds
                                                                Funds Office       will notify
                                                                         Office will     notify thethe employer
                                                                                                         employer andand
 employees that the employer
                        employer has been
                                        been terminated.
                                               terminated. TheThe Funds
                                                                     Funds Office     will provide
                                                                            Office will    provide notification
                                                                                                        notification to
 the Funds'
     Funds' Boards
              Boards of of Trustees
                           Trustees and
                                      and toto Local
                                               Local 99 at
                                                         at least
                                                             least two   (2) days
                                                                    two (2)          prior to
                                                                              days prior    tosending
                                                                                                 sending any any letters
                                                                                                                  letters
 described in this paragraph.

         6. IfIf an
         6.        an employer
                       employer pays the     principal amount
                                        the principal  amount of the
                                                                   the delinquency
                                                                        delinquency but does not pay  pay
 accrued interest and/or any other
                               other amounts
                                      amounts owed,
                                                 owed, acceptance
                                                        acceptance of the   principal amount
                                                                       the principal  amount shall
                                                                                                shall not
                                                                                                      not
 constitute a waiver of the Fund's
                            Fund's claim
                                    claim for
                                           for accrued
                                                accrued and
                                                        and unpaid
                                                            unpaid interest
                                                                    interestand/or
                                                                             andlor any
                                                                                    any other
                                                                                         other amounts.
                                                                                                amounts.
 The Trustees may suspend collection
                              collection of interest and/or
                                                      andlor any other
                                                                 other amounts
                                                                        amounts due, and in in the
                                                                                               the event
                                                                                                   event
 the employer subsequently
               subsequently become delinquent, may   may demand
                                                          demand prior interest
                                                                         interest and/or
                                                                                  and/or other
                                                                                         other amounts
                                                                                                amounts
 owed and collect such amounts in in any
                                     any legal action to collect delinquent
                                                                 delinquent contributions.

        7. IfIf an
        7.         an employer's
                       employer's contributions
                                    contributions decline   significantly (by 10%
                                                   decline significantly        I0%o or more) from its
 preceding
 preceding contributions, the Funds Office shall   report the situation
                                             shall report      situation to
                                                                         to the
                                                                            the Board
                                                                                Board of
                                                                                       of Trustees.
                                                                                          Trustees. The
 Board of Trustees may direct the Funds
                                     Funds Office
                                            Office to
                                                    to contact
                                                       contact the
                                                                the employer
                                                                    employer and
                                                                               and the
                                                                                   the Local
                                                                                       Local Union
                                                                                              Union for
                ofthe
 an explanation of the decline, or take other action as necessary.

         8. Any payment received by the Funds
         8.                                               (including Contributions,
                                                  Funds (including    Contributions, interest
                                                                                       interest and/or late
 fees) from an
             an employer
                 employer owing
                             owing delinquent
                                   delinquent Contributions,
                                                Contributions, interest, and/or
                                                                           andlor late fees of more
                                                                                                 more than
                                                                                                       than
 $500 in the aggregate,
              aggregate, regardless
                          regardless of how
                                         how the
                                              the payment
                                                  payment is is characterized
                                                                characterized (e.g., for a current
                                                                                            current month
                                                                                                     month
 Contribution) may
 Contribution)   may be applied first toto the
                                            thedelinquent
                                                delinquent Contributions
                                                             Contributions with the oldest
                                                                                         oldest Due
                                                                                                 Due Date,
                                                                                                      Date,
 including
 including any applicable     unpaid interest and/or late fees, and the remainder
                 applicable unpaid                                        remainder of the payment, if
                                                                                               payment,   if
            be applied
 any, will be            to any
                applied to   anydelinquency
                                 delinquency due    for the
                                               due for       following month(s)
                                                         thefollowing               until the
                                                                         month(s) until    the payment
                                                                                                payment is
 exhausted.
 exhausted. The
              TheFunds
                   Funds Office   willnotify
                           Office will notifythe
                                              theemployer
                                                  employer howhow the
                                                                   the payment
                                                                        payment has
                                                                                  has been
                                                                                      been allocated
                                                                                             allocated and
                                                                                                        and
 the extent of the remaining delinquency, if any.

         9. Any delinquency
         9.           delinquency policy, practice
                                              practice or remedy set forth in thethe applicable
                                                                                      applicable CBACBA or or
 other written agreement
                agreement between
                            between an employer
                                            employer and Sheet     Metal Workers'
                                                             Sheet Metal               Local 99requiring
                                                                            Workers' Local         requiring
 Contributions
 Contributions to the Funds
                       Funds is
                              is hereby
                                 hereby incorporated
                                          incorporated by
                                                        by reference
                                                           reference to the
                                                                        the extent
                                                                             extent not inconsistent
                                                                                        inconsistent with
                  in addition
 this Policy, and in addition to
                               to the
                                   the remedies
                                        remedies herein  (for example,
                                                 herein (for  example, aa requirement
                                                                           requirement that
                                                                                         that aa delinquent
                                                                                                 delinquent
 employer post bond or secure a letter of credit or escrow deposit).


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          10. If an employer
          10.           employer doesdoes not    pay the
                                           not pay         full amount
                                                      the full   amount of ofContributions      required under
                                                                              Contributions required     under the
                                                                                                          'Workers'
 applicable CBA or other
 applicable                     written agreement
                        other written     agreement between
                                                        between the employer
                                                                         employer andand Sheet    Metal Workers'
                                                                                           Sheet Metal
 Local 9 requiring Contributions
                      Contributions to the Sheet
                                               Sheet Metal Workers'
                                                              Workers' LocalLocal 99 benefit
                                                                                     benefit funds
                                                                                              funds and  programs
                                                                                                     and programs
 on whose behalf the Funds Office collects employer Contributions, the Contributions will be
 on  whose   behalf  the Funds    Office   collects   employer     Contributions,      the Contributions          be
 distributed to
 distributed             benefit funds
               to such benefit    funds and       programs as
                                           and programs       as follows.            Contributions will first
                                                                              The Contributions
                                                                   follows. The                             first be
                                                                                                                  be
 distributed
 distributed to the benefit    funds and/or
                      benef,rt funds  andlor programs
                                                programs funded
                                                            funded by by employee
                                                                           employee wagewage deductions,
                                                                                              deductions, such
                                                                                                            such as
 the Sheet
 the          Metal Workers'
      Sheet Metal                Local99Vacation
                     Vy'orkers' Local       VacationFund.        Anyremaining
                                                         Fund. Any      remainingContributions
                                                                                      Contributions will then be  be
 distributed to the remaining
 distributed          remaining benefit funds and programsprograms based on the          proportion each
                                                                                    the proportion          of their
                                                                                                      each of  their
 rates of Contribution
           Contribution bears to thethe total
                                         total rate
                                                rate of
                                                     of Contributions
                                                        Contributions for for such
                                                                              such benefit
                                                                                     benefit funds
                                                                                              funds and  programs
                                                                                                     and programs
         the applicable
 under the    applicable CBA or    or other     written agreement,
                                       otherwritten                       regardless of how the
                                                          agreement, regardless                   the payment
                                                                                                       payment is  is
  characterized by the
 characterized       the employer     (e.g., for Health
                          employer (e.g.,          Health Fund
                                                            Fund andand Training             only), subject
                                                                                      Fund only),
                                                                          Training Fund              subject to the
                                                                                                                 the
            right to
 Trustees' right   to determine
                      determine ananalternative
                                       allernative method
                                                      method of of distribution,       their sole
                                                                    distribution, in their         discretion, on a
                                                                                             sole discretion,
 reasonable
 reasonable and consistent basis.



                                                  SECTION 3.

                                 LEGAL ACTION AND SETTLEMENT
                                                  SETTLEMENT

         1. If an employer's delinquent
        1.                        delinquent Contributions
                                             Contributions are  not received
                                                            are not received by
                                                                             by the    fifth (5th)
                                                                                  the fifth  (5t5 day of
 the second
     second month    following the
             month following       Due Date,
                               the Due   Date, and
                                                andthe
                                                    thedelinquent
                                                        delinquent Contributions,     interest and
                                                                     Contributions, interest     and late
                                                                                                      late
 fees exceed $1,000   (aggregated for all Funds),
                                          Funds), the
                                                  the delinquent
                                                      delinquent amount
                                                                  amount shall
                                                                           shall be
                                                                                 be referred
                                                                                     referred to Legal
                                                                                                   Legal
 Counsel for collection.

         2. Legal Counsel will send
         2.                                        Final Notice
                                          send aa Final          to the
                                                         Notice to   theemployer
                                                                          employer demanding          payment of
                                                                                       demanding payment
 the delinquent Contributions           notifying the employer that it is liable
                  Contributions and notifying                                         for interest
                                                                              liable for    interest and
                                                                                                     and late
                                                                                                          late fees
 as set     above.Legal
        out above.
    set out           LegalCounsel
                              Counselshall
                                         shallfurther  notify the
                                               further notify  the employer
                                                                    employer that     if the
                                                                                that if        full amount
                                                                                          the full  amount isis not
                                                                                                                not
 paid within twenty (20) days of   of the Final
                                          Final Notice, suit  will be
                                                         suit will     filed and
                                                                    be filed and the
                                                                                   the employer
                                                                                        employer willwill be liable
                                                                                                          be liable
 for the contributions,   interest, liquidated
         contributions, interest,   liquidated damages,
                                                damages, attorneys'
                                                           attorneys' fees and               Liquidated damages
                                                                             and costs. Liquidated        damages
 shall accrue if suit is filed as set
                                  set forth in Section
                                                Section 6.

        3. In the event
        3.             event an
                              an employer   fails to
                                 employer fails       pay the
                                                   to pay  thedelinquent
                                                               delinquent Contributions    within twenty
                                                                           Contributions within   twenty
 (20) days after Legal
      days after         Counsel's Final
                 Legal Counsel's   Final   Notice,
                                          Notice,     Legal
                                                     Legal   Counsel shall
                                                            Counsel   shall  initiate
                                                                            initiate  legal
                                                                                     legal proceedings,
                                                                                            proceedings,
        Legal Counsel
 unless Legal            recommends a
               Counsel recommends       a different
                                          different course    of action
                                                       course of  action based          pertinentfactors
                                                                                  uponpertinent
                                                                         based upon               factors
                                            following:
 which include, but are not limited to, the following:


                  a.
                  a.       the amount of the delinquency;
                                             delinquency;
                  b.
                  b,       the length of time the delinquent amount has been owed;
                  c.       the financial condition of the employer;
                                                          employer;

                  d.
                  d,       the employer's past
                                          past performance
                                               performance as
                                                           as aa contributing
                                                                 contributing employer;
                                                                              employer;

                  e.
                  e.       the likelihood of collecting on aa judgment once it is obtained;

                  ff.      any other factor that, in the discretion of Legal Counsel, may have a
                           material bearing on the collection ofof the delinquent
                                                                       delinquent Contributions.


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    lawsuit shall
 A lawsuit  shall not be
                       be commenced
                          commenced if if the
                                          the Board of Trustees
                                              Board of  Trustees determines
                                                                   determines there is       likelihood that
                                                                                      is aa likelihood
                       will exceed
 the costs of the suit will            recovery. Unless
                            exceed the recovery.  Unless the
                                                          the Trustees
                                                              Trustees direct
                                                                         direct otherwise,       lawsuit will
                                                                                otherwise, aa lawsuit
 not be commenced
        commenced if aggregate
                         aggregate contributions       interest do
                                    contributions and interest  do not
                                                                    not exceed
                                                                        exceed $1,000. A   A lawsuit
                                                                                                lawsuit shall
                                                                                                        shall
 not be commenced under such such circumstances
                                  circumstances pending action
                                                            action of the Trustees
                                                                           Trustees on
                                                                                     on recommendation
                                                                                         recommendation
 by Legal Counsel.

         4. Legal Counsel
         4.            Counsel is authorized
                                  authorized to enter  into settlement
                                                enter into                  negotiations, either
                                                              settlement negotiations,    either orally or
    writing, with delinquent employers.
 in writing,                  employers. Without
                                         Without further
                                                  further approval
                                                           approval of  of the
                                                                            the Board  of Trustees,
                                                                                Board of             Legal
                                                                                          Trustees , Legal
 Counsel
 Counsel may agree to the
                        the immediate
                             immediate payment   of the
                                                    the  full
                                                        full  amount    owed;
                                                               amount owed;      but,
                                                                                 but, any
                                                                                      any settlement
                                                                                           settlement that
 waives or compromises
            compromises the amount owed, including interest, liquidated
                                                                   liquidated damages,
                                                                                damages, attorneys' fees
 or costs, must be approved by the Board of Trustees or its designated subcommittee.
                                                                             subcommittee.

         5. Legal Counsel
         5.                      may, without
                       Counsel may,    without Board
                                                 Boardconsultation,
                                                        consultation, accept any any proposal
                                                                                      proposal for
                                                                                                for
 settlement that
 settlement                      paymentof
                  contemplates payment
             that contemplates             of all amounts (including
                                                            (including interest   and late fees or
                                                                        interest and             or
 liquidated damages) due over a reasonable
                                reasonable period of time, not to exceed six (6) months.
                                                                         six (6)

        6. Unless the
        6.             the Trustees                   agree to the
                                        specifically agree
                              Trustees specifically              thecontrary,   nosettlement
                                                                     contrary, no    settlementmay
                                                                                                 may
 permanently waive the collection
                        collection of interest, liquidated  damages
                                                            damages or attorneys' fees,
                                                                                  fees, although
                                                                                        although any
 settlement
 settlement may suspend
                 suspend the collection of interest, liquidated  damages, or attorneys' fees until a
                                                      liquidated damages,
            delinquency if the
 subsequent delinquency      the current             of those
                                         collection of
                                 current collection      thoseamounts   wouldinvolve
                                                               amounts would   involve unwarranted
                                                                                         unwarranted
 expense.

         7, The Board of
         7.                     of Trustees   reserves the right to
                                   Trustees reserves                 to accept    orreject
                                                                          accept or   rejectananemployer's
                                                                                                  employer's
             regarding any
 proposal regarding          delinquent Contributions,
                         any delinquent   Contributions, interest,    liquidated damages,
                                                           interest, liquidated   damages, and attorneys'
                                                                                                   attorneys'
 fees over a period    of time
               period of  time and  to compromise
                               and to   compromise anyany claim
                                                           claim or
                                                                  or delinquent
                                                                     delinquent account,
                                                                                  account, either
                                                                                             either before
                                                                                                    before or
                                                                                                           or
               filed; provided, however,
 after suit is filed;           however, that
                                           that any
                                                any such
                                                    such decision
                                                           decision to extend
                                                                         extend the
                                                                                the time
                                                                                    time for
                                                                                          for payment, or to
 compromise the amount owing, owing, complies    with the
                                      complies with    the Department
                                                           Department of  of Labor
                                                                             Labor Prohibited
                                                                                     Prohibited Transaction
                                                                                                 Transaction
 Exemption 76-1.

         8. Settlements
         8.                     calling for payments
                  Settlements calling       payments over time timeororcompromising
                                                                         compromising the theamount,
                                                                                               amount,
 including interest,
            interest, liquidated damages, attorneys' fees
                      liquidated damages,            fees or
                                                          or costs,
                                                              costs, must be in writing
                                                                          be in writing and
                                                                                         and signed
                                                                                             signed on
 behalf of the Funds and the employer unless itit would be
                                                         be inappropriate
                                                            inappropriate under
                                                                           under the
                                                                                 the circumstances
                                                                                      circumstances to
 do so.

         g. IfIf aa settlement
         9.           settlement results    in payment
                                    results in          of less
                                               payment of    less than
                                                                   than the   fullamount
                                                                         thefull   amountowed        (including
                                                                                              owed (including
 interest, late fees or liquidated
                fees or  liquidated damages),
                                      damages), such
                                                 such settlement
                                                       settlement will be  be distributed   to the
                                                                               distributed to    theapplicable
                                                                                                     applicable
        pro rata,
 Funds pro                        proportion each Fund's rate
             rafa, based on the proportion                  rate of
                                                                 of contribution
                                                                     contribution bears
                                                                                     bears to the total rate of
 contributions for the Funds subject
 contributions                                           subject to the Trustees'
                                 subject to this Policy, subject           Trustees' right     to determine
                                                                                        right to  determine an
                                                                                                             an
               method of
 alternative method
 alternative                distribution of
                        of distribution    of the settlement    amount, in
                                                  settlement amount,                         discretion, on a
                                                                                       sole discretion,
                                                                            in their sole
 reasonable
 reasonable and consistent basis.

         10. Notwithstanding
         10.    Notwithstanding the procedures
                                     procedures set out in this policy, thethe Board  of Trustees
                                                                                Board of Trustees may
 refer any delinquent account to Legal Counsel
                                       Counsel atat an
                                                    an earlier or later
                                                       earlier or  later date
                                                                         date than provided for
                                                                              than provided for herein
 when circumstances warrant that collection
                                  collection action be expedited or delayed.
                                                                       delayed.




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          1 1.
         11.       Trustees may, from
               The Trustees                   to time,
                                   from time to   time, appoint     Committee of at
                                                         appoint aa Committee       at least
                                                                                        least one
                                                                                              one
 Employer and one Union Trustee to act on
                                       on behalf of the Board
                                                        Board of
                                                              of Trustees, as
                                                                           as provided for under
      policy.
 this policy.

                                                  SECTION 4.

                                                AUDIT POLICY
                                        PAYROLL AUDIT

         1. (a)
         1.         (a)The      BoardofofTrustees
                         TheBoard                     shallhave
                                            Trusteesshall    havecomplete
                                                                  completediscretion
                                                                              discretion to todetermine      which
                                                                                               determine which
 employers
 employers    will   be audited
                        audited    in each year,
                                           year. Each   employer
                                                  Each employer    participating
                                                                   participating   in
                                                                                  in  the
                                                                                       the Fund
                                                                                           Fund   shall
                                                                                                   shall generally
                                                                                                         generally
 be audited at least once during a three (3) year period.           Allemployers
                                                           period.All    employers shall
                                                                                       shall be
                                                                                              be audited
                                                                                                  audited at
                                                                                                           at least
                                                                                                               least
 once during a five (5) (5) year period, such
                                            such period to
                                                         to commence
                                                            commence from
                                                                        from the
                                                                              the date
                                                                                   date of
                                                                                         of the
                                                                                             the last
                                                                                                 last audit
                                                                                                       audit of the
 employer, or in cases
 employer,                   where an
                      cases where      an employer
                                          employer has
                                                     has not   previously been
                                                           not previously   been audited,
                                                                                  audited, from the date  date the
                                                                                                                 the
 employer first became          participating employer
                   became a participating      employer in the Fund.
                                                                 Fund. Each
                                                                        Each new
                                                                              new employer
                                                                                     employer shall
                                                                                                 shall be
                                                                                                        be audited
                                                                                                           audited
              first year
 within the first         of its
                     year of  its participation
                                  participation and
                                                 and each
                                                     each employer
                                                            employer that
                                                                      that terminates
                                                                           terminates its    participation in the
                                                                                         its participation
           files aa petition
 Fund or files        petition ininbankruptcy     shall be
                                     bankruptcy shall   beaudited
                                                            audited as
                                                                     assoon
                                                                        soonasaspracticable       following such
                                                                                  practicable following        such
 termination or petition.

                (b) The period audited
                (b)               audited shall  generally be
                                           shall generally be three   (3)years,
                                                               three (3)   years, unless
                                                                                   unlesscircumstances
                                                                                          circumstances
         otherwise.In
 dictate otherwise.  Ininstances
                        instances where
                                   where the
                                          theTrustees
                                               Trustees decide
                                                        decide not   to audit
                                                                not to           particular employer
                                                                         auditaaparticular   employer at
                                                                                                       at
                            (3) year
 least once during a three (3)       period, the
                                year period,     period audited
                                             the period  audited shall
                                                                 shall be
                                                                        be determined
                                                                            determined byby the
                                                                                            the Trustees
                                                                                                Trustees
 based on the particular facts and circumstances.

                  (c) Notwithstanding
                  (c)                                                    this Section,
                                                guidelines set out in this
                       Notwithstanding the guidelines                         Section, the
                                                                                         the Trustees  may, in
                                                                                             Trustees may,     in
 the exercise
      exercise of their discretion,
                         discretion, determine
                                      determine that the the audit
                                                             audit schedule
                                                                    schedule set  forth above
                                                                              set forth   above should
                                                                                                 should not be
 followed in aa particular
 followed          particular instance.
                              instance. ForForexample,
                                                  example, thethe Trustees   may, in
                                                                   Trustees may,    in the
                                                                                        theexercise    of their
                                                                                             exercise of   their
 discretion, decide not to conduct
                             conduct anan audit
                                          audit ifif an
                                                     an employer
                                                         employer has
                                                                    has consistently
                                                                        consistently reported
                                                                                      reported accurately
                                                                                                 accurately or,
 if facts
 if facts and
          and circumstances     indicate that
               circumstances indicate     Ihat aa particular
                                                   particular employer    may be
                                                               employer may     bereporting
                                                                                   reporting inaccurately
                                                                                               inaccurately oror
 inconsistently, the
 inconsistently,        Trusteesmay
                   the Trustees         directthat
                                  maydirect     thatthethe Fund's
                                                           Fund's auditors
                                                                    auditors conduct
                                                                              conductan  anaudit.  If an
                                                                                            audit. If an audit
                                                                                                          audit
            inaccurate or inconsistent
 uncovers inaccurate
 uncovers                                  reporting by
                            inconsistent reporting       by an employer,         Trustees will then make a
                                                                 employer, the Trustees
 determination as
 determination      as to whether    theauditor
                           whether the     auditorshould        schedule aasubsequent
                                                      should schedule         subsequent audit     within the
                                                                                             audit within    the
 appropriate
 appropriate statute of limitations.
                         limitations.

         2. IfIf an
         2.        an employer
                      employer ceases   to have
                                 ceases to  have anan obligation  to contribute
                                                      obligation to             to the
                                                                     contribute to      Fund under
                                                                                    the Fund   under the
                                                                                                     the
        Agreement, CBA, or applicable
 Trust Agreement,              applicable law, thethe employer
                                                       employer shall   remain subject
                                                                  shall remain           to these
                                                                                subject to   these audit
                                                                                                   audit
 procedures                  of verifying
 procedures for the purpose of  verifyingthat
                                           that the
                                                 the employer
                                                     employer made
                                                               made the    proper contributions
                                                                       the proper  contributions during
                                                                                                 during
 the time period in which the employer
                              employer was obligated
                                              obligated to contribute
                                                            contribute to the Fund.

         3. Prior to conducting each audit,
         3.                                 audit, the Fund
                                                       Fund auditor
                                                              auditor shall notify the
                                                                      shall notify the Funds   Office and
                                                                                        Funds Office    and
 review the employer's
             employer's CBA and any pending issues. issues. The
                                                             TheFunds
                                                                  Funds Office   will forward
                                                                         Offrce will               letter to
                                                                                       forward aa letter
 the employer   advising it of
     employer advising       of the
                                 the impending
                                      impending audit,  citing the
                                                audit, citing   the Trustees'  authority to
                                                                    Trustees' authority    to conduct
                                                                                              conduct thethe
 audit and describing
            describing the records required.
                                    required.

         4. If during a payroll
         4.                     payroll audit
                                         audit the
                                               the Fund
                                                    Fund auditor
                                                          auditor encounters
                                                                    encounters an an issue  of interpretation
                                                                                      issue of  interpretation of
 the CBA or
 the CBA    or an
                an employer
                   employer takes       position inconsistent
                               takes aa position                  with the
                                                   inconsistent with         auditor'sunderstanding
                                                                         the auditor's   understanding of of such
                                                                                                             such
 CBA, the Auditor
 CBA,        Auditor shall
                      shall seek
                             seek the opinion
                                       opinion of    the Union. If
                                                 of the            If the  Union agrees
                                                                       the Union           with the employer's
                                                                                   agrees with       employer's
 interpretation or position, that shall
                                    shall resolve
                                          resolve the matter,
                                                        matter, unless
                                                                 unless such
                                                                          such interpretation
                                                                               interpretation oror position is, in
 the view ofof the
               the auditor,   clearly inconsistent
                    auditor, clearly                            language of the governing
                                      inconsistent with the language                governing documents.
                                                                                                  documents. In In


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 such an event, or if the
                      the Union
                          Union and
                                and employer
                                     employer disagree,
                                                disagree, the Fund
                                                              Fund auditor
                                                                   auditor shall
                                                                           shall present
                                                                                 present the issue in
 writing to the Board of Trustees for a decision before completing the payroll audit.

         5. After an audit of an employer is conducted,
         5.                                          conducted, the Fund auditor
                                                                              auditor shall
                                                                                        shall review with the
 employer                  findings. After
 employer the auditor's findings.       Afterproviding
                                              providing the
                                                         theemployer      with aareasonable
                                                              employer with          reasonable time   within
                                                                                                  time within
 which to respond to the auditor's
                            auditor's findings,
                                       findings, the
                                                 the auditor
                                                     auditor shall
                                                             shall issue
                                                                    issue aa final
                                                                              final report
                                                                                    report to
                                                                                            to the
                                                                                                the Fund with
                                                                                                    Fund with
 its payroll audit findings.

          6.
          6.        After receipt of the Fund auditor's report,
                                                             report, the
                                                                     the Funds
                                                                          Funds Office
                                                                                  Office shall
                                                                                            shall send
                                                                                                   send aa letter
                                                                                                            letter to
 the employer
      employer demanding          paymentof
                  demanding payment         of any
                                               any amounts
                                                    amountsfoundfoundto tobe  due by
                                                                           be due        the auditor,
                                                                                     by the  auditor. TheThe letter
                                                                                                               letter
 shall state
        state that interest
                   interest on
                             on the
                                 the delinquent
                                     delinquent Contributions
                                                 Contributions shall
                                                                   shall be calculated
                                                                            calculated as as set
                                                                                             set forth  in Section
                                                                                                  forth in   Section
 2.IfIfamounts
 2.     amountsdue dueasasthe
                           theresult
                                resultof
                                       ofaaroutine
                                            routine audit
                                                     audit are
                                                            are found
                                                                 found to
                                                                        to be
                                                                           be the
                                                                               the result
                                                                                    result of
                                                                                            of aagood
                                                                                                 good faith
                                                                                                        faith error
                                                                                                                error
     the employer,
 by the   employer, and the the employer
                                 employer makes payment within  within sixty (60) days of aa demanddemand by the  the
                    will be
 Fund, late fees will     be waived,
                              waived, provided
                                        provided that
                                                  that the
                                                        the Trustees
                                                             Trustees determine
                                                                        determine thatthat there
                                                                                           there are
                                                                                                   are no
                                                                                                       no unusual
                                                                                                           unusual
 circumstances, such as repeated prior delinquencies
                                             delinquencies or prior audit discrepancies.
                                                                              discrepancies.

           7. In the event
           7.             event an
                                 an employer
                                    employer refuses         permit an
                                                 refuses to permit   an audit
                                                                         audit upon
                                                                               upon request
                                                                                      request by
                                                                                               by the
                                                                                                   the Trustees,
                                                                                                        Trustees,
     if the
 or if   theemployer
             employer refuses
                        refuses the
                                 the Fund
                                     Fund auditor
                                             auditor access    topertinent
                                                       access to  pertinent records,
                                                                             records, the
                                                                                       the Fund
                                                                                            Fund auditor
                                                                                                    auditor shall
                                                                                                             shall
 refer the matter
              matter to Legal  Counsel.Legal
                        Legal Counsel.       LegalCounsel
                                                     Counselshall
                                                               shallthereafter
                                                                      thereafter demand
                                                                                 demand in  in writing
                                                                                               writing that
                                                                                                          that the
                                                                                                               the
 employer make
 employer      make available
                      available such
                                 such books
                                       books and records
                                                      records as are
                                                                   are necessary
                                                                        necessary for thethe Fund    Auditor to
                                                                                              Fund Auditor
                audit.IfIfthe
 conduct an audit.
 conduct                   therecords
                               recordsare      stillnot
                                          arestill   notmade
                                                         madeavailable,
                                                                 available, upon
                                                                             upon approval
                                                                                   approval of of the
                                                                                                  the Board
                                                                                                        Board ofof
 Trustees,
 Trustees, counsel shall institute legal      action to enforce
                                       legal action                                right to
                                                          enforce the Trustees' right     to conduct
                                                                                             conduct aa payroll
                                                                                                           payroll
 audit and the employer shall be obligated
                                      obligated to pay to the Fund all costs and attorneys' fees   fees incurred
                                                                                                         incurred
 as aa result
       result of
               of the
                  the employer's
                      employer's refusal
                                   refusal to   permitan
                                            to permit   anaudit
                                                           audit or
                                                                  orrefusal
                                                                     refusal to
                                                                              tomake
                                                                                 make available
                                                                                        available all
                                                                                                    all pertinent
                                                                                                        pertinent
 records.
 records.

          8. If a payroll audit
          8.                   audit identifies
                                      identifîes anan overpayment
                                                       overpayment by the    the employer:
                                                                                  employer: (a)
                                                                                              (a) to
                                                                                                  to be
                                                                                                     be considered
                                                                                                         considered
 for aa refund,
        refund, the employer
                    employer must
                               must submit
                                        submit aa request
                                                   request toto the
                                                                 the Board
                                                                      Board of of Trustees   in writing
                                                                                   Trustees in            within six
                                                                                                writing within     six
 (6) months of being advised
                       advised byby the auditor
                                          auditor oror the
                                                       the Fund
                                                            Fund ofof the
                                                                      the overpayment,
                                                                            overpayment, stating
                                                                                             stating the reason
                                                                                                          reason for
                                                                                                                  for
      overpayment; (b) the Board of Trustees
 the overpayment;                          Trustees will decide
                                                             decide in    itssole
                                                                      in its   solediscretion
                                                                                     discretion whether
                                                                                                 whether aa refund
                                                                                                              refund
 will be granted; (c) if the refund is is granted
                                          granted by the Board
                                                             Board of Trustees, it shall be net of the cost of
 the payroll audit; (d) any
                          any such
                              such net
                                     net refund
                                           refund may
                                                    may be berecovered
                                                               recovered by   by the
                                                                                  theemployer
                                                                                       employer through
                                                                                                  through aa credit
                                                                                                               credit
                  contributions only
 against future contributions      only as    determined by the
                                           as determined           the Trustees
                                                                         Trustees and      communicated to the
                                                                                      andcommunicated             the
 employer in writing; and (e) any any attempt
                                        attempt byby the
                                                      the employer
                                                           employer to  to recoup
                                                                            recoup anyany overpayment
                                                                                          overpayment through a
 procedure other
 procedure                 the one
              other then the    one described
                                       described in  inthis
                                                         thisparagraph
                                                                paragraph (for (forinstance,    bythe
                                                                                     instance, by    theemployer
                                                                                                           employer
 unilaterally
 unilaterally taking a credit) shall
                                shall result
                                       result in
                                              in the
                                                 the automatic
                                                       automatic forfeiture
                                                                    forfeiture ofof the
                                                                                    the refund
                                                                                         refund and
                                                                                                 and the
                                                                                                      the treatment
                                                                                                           treatment
 of any credit taken by an employer as a delinquent
                                               delinquent contribution.
                                                             contribution.

                                                   SECTION 5.

                                      MISTAKEN CONTRIBUTIONS
                                      MISTAKEN CONTRIBUTIONS

         l. An employer may, without
         1.                                 prior approval
                                   without prior  approval ofof the
                                                                 the Trustees,
                                                                     Trustees, credit
                                                                               credit an
                                                                                      an overpayment
                                                                                         overpayment
 against
 against the contributions
             contributions due to the
                                  the Funds  for the
                                      Funds for   themonth
                                                       monthimmediately       following the month
                                                               immediately following         month in
                                                                                                    in
                          occuned. The
 which the overpayment occurred.    Theemployer
                                         employer may
                                                    maynotnotcredit
                                                              credit any
                                                                      anyother
                                                                           otheroverpayment
                                                                                  overpayment against
                                                                                               against
 subsequent  contributions due,
 subsequent contributions  due, and any request    for aarefund
                                         request for      refundof ofsubsequent
                                                                      subsequentoverpayments
                                                                                   ove{payments may
                                                                                                 may
 only be made pursuant to these procedures.
                                procedures.




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         2. If an
        2.         an employer
                      employer does    not credit
                                 does not  credit any
                                                   any overpayment
                                                        overpayment on the      report submitted
                                                                           the report  submitted to the
                                                                                                    the
 Funds for the month
               month immediately    following the month
                       immediately following        month inin which
                                                               which the
                                                                      the overpayment
                                                                          overpayment occurred,
                                                                                         occurred, with
 the exception
     exception of overpayments determined in a payroll audit under Section
                                                                        Section 4, no refund of excess
 contributions                                           written request
 contributions shall be granted by the Fund without aa written            for such
                                                                  request for       refund having
                                                                              such refund  having been
 received
 received within two (2) years after
                                after the
                                      the date
                                          date that
                                                that such
                                                      such excess
                                                           excess contributions
                                                                   contributions were
                                                                                  were received
                                                                                        received by the
 Fund.

         3. If the Fund incurred
         3.                   incurred aa direct
                                          direct or indirect                    liability as aaresult
                                                    indirect cost, expense or liability         result of an
 excess contribution,       refund of such contribution
         contribution, any refund                                    reduced by the full value of such
                                                            shall be reduced
                                              contribution shall                                        such
                     liability.The
 cost, expense or liability.     Theamount                maynot
                                                returnedmay
                                      amountreturned            notinclude     anyinterest
                                                                      includeany     interestor orearnings
                                                                                                    earnings
 attributable to the overpayments
                     overpayments and must alsoalso be
                                                     be reduced
                                                        reduced by any
                                                                     any investment
                                                                          investment loss
                                                                                        loss attributable
                                                                                             attributable to
 the overpayments.

         4. The obligation
        4.                       to discover
                      obligation to discover and
                                              and delineate    theamount
                                                   delineate the     amountof ofexcess
                                                                                  excesscontributions
                                                                                         contributions
 within the time  limits provided
            time limits                      policy is
                         provided within the policy is the
                                                        the sole
                                                             sole and
                                                                   and exclusive
                                                                        exclusive responsibility
                                                                                   responsibility of the
 employer.
 employer.

        5. The request of the employer
        5.                                                        of all
                                    employer must contain copies of  all documentation
                                                                         documentation upon which
 the employer relies to substantiate
                        substantiate its request
                                         request or
                                                 or which
                                                    which may be required
                                                                 required by the Fund
                                                                                 Fund to verify the
 exact amount of the excess contributions.

        6. An employer request for aa refund
        6.                                               of excess
                                                 refund of  excess contributions
                                                                    contributions must be received by the
 Fund no later
           later than
                 than six   (6) months
                       six (6)  months after
                                        after the
                                               theTrustees
                                                    Trustees determine
                                                              determine the
                                                                          the contributions
                                                                              contributions were
                                                                                               were made by
 mistake. Any
 mistake.   Any request   byan
                  request by   anemployer    for aarefund
                                  employer for      refund under
                                                            under paragraph     of this
                                                                   paragraph 22 of  this section  prior to the
                                                                                          section prior
 Board's determination     will be
          determination will    be deemed
                                   deemed toto comply    with this provision.
                                                comply with

         7.
         7.            failure and/or
                  The failure   andlor refusal of the employer
                                                      employer promptly and fully to comply
                                                                                          comply with any
    all of
 or all of the  provisions of
            the provisions   of this policy shall
                                this policy shall result  in the
                                                   result in the denial of the
                                                                 denial of  the request  for the
                                                                                 request for the refund
                                                                                                 refund of
 excess contributions.

         8. As used in
         8.                  in this   policy, the
                                 this policy,   the term    o'refund"shall
                                                     term "refund"    shallinclude
                                                                             include the
                                                                                      theoffset    of previously-
                                                                                           offset of   previously-
 submitted
 submitted excess contributions         against currently
                     contributions against        currently due     contributions(oocredits").
                                                               due contributions    ("credits"). As such,
                                                                                                       such, upon
                                                                                                               upon
 approval of the Trustees,
                   Trustees, an an employer
                                    employer may may bebe permitted   to credit
                                                           permitted to   credit excess
                                                                                  excess contributions,
                                                                                          contributions, less
                                                                                                           less the
 puì¿'s set-offs
 Fund's  set-offs described
                   described inin this   policy, against
                                   this policy,  against current
                                                           current contributions
                                                                    contributions only
                                                                                    only to the
                                                                                            the same
                                                                                                 same extent and
 under the same
             same terms andand conditions
                                  conditions as as such
                                                    such employer
                                                          employer may be   be entitled
                                                                               entitled to aa refund
                                                                                               refund under
                                                                                                        under this
                                                                                                                this
 policy. Any
 policy.  Anyemployer
                employerattempt
                            attempt to torecoup
                                          recoup any
                                                   anyexcess
                                                         excess contribution
                                                                 contribution through
                                                                               through aa procedure
                                                                                           procedure other
                                                                                                        other than
 ih" one
 the o.t. described
          described inin this
                          this paragraph
                                paragraph (for(for instance
                                                    instance byby the
                                                                   theemployer                   taking aa credit)
                                                                                   unilaterally taking
                                                                       employer unilaterally                 credit)
 shall result in the
                 the automatic     forfeiture of the refund
                     automatic forfeiture               refund and
                                                                and the treatment
                                                                         treatment of any
                                                                                        any credit
                                                                                             credit taken by the
 employer as a delinquent contribution.
                               contribution.

                                                  SECTION 6.

                 LIQUIDATED DAMAGES,
                 LIQUIDATED DAMAGES, ATTORNEYS
                                     ATTORNEYS'' FEES AND COSTS
                                                 FEES AND COSTS

        L
       1.       Liquidated
                Liquidated damages shall be calculated
                                                calculated from the Due
                                                                    Due Date,
                                                                          Date, and
                                                                                and shall
                                                                                      shall become
                                                                                            become due
                                                                                                   due
 and owing  (in lieu of late
                        late fees
                             fees described     Section 2, paragraph
                                  described in Section                6), if suit is commenced. The
                                                            paragraph 6),                          The
 amount of the liquidated damages
                           damages shall
                                     shall be the greater
                                                  greater of:




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                a. Interest on
                a.               on the
                                     thedelinquent  Contributions determined
                                         delinquent Contributions            in accordance
                                                                  determined in             with
                                                                                 accordance with
         2,paragraph
 Section 2, paragraph 4, or Section 4, paragraph 6; or
                                     4,paragraph

                 b.
                 b.       20%
                          20%;o of the
                                   the delinquent
                                       delinquent Contributions.
                                                  Contributions

         2, Attorneys' fees shall be
         2.                            be due    to the
                                            due to   theFunds    fromaadelinquent
                                                         Funds from                    employer at
                                                                          delinquent employer      at the
                                                                                                       the
              charged to the Funds
 hourly rate charged
 hourly                             for such
                             Funds for   such services,  for all
                                              setvices, for  all time
                                                                  time spent  by counsel
                                                                        spent by           in collection
                                                                                  counsel in   collection
         pursuant io
 efforts pursuant to Section 3 hereof or in enforcing                            right to
                                            enforcing the Board of Trustees' right        payroll audits
                                                                                       to payroll  audits
 pursuant to Section 4 hereof, whether or not suit is commenced.

          3. Notwithstanding
         3.                          Section 4,
                  Notwithstanding Section        Subsections77 and 8, all
                                             4, Subsections                all costs,  (including, but not
                                                                               costs, (including,         not
 limited   to, attorneys'
 limited to,                fees)incurred
                attorneys' fees)             (a)totodetermine,
                                   incurred(a)                       discoverand
                                                       determine,discover               collectdelinquent
                                                                                  andcollect      delinquent
 Contributions, (b) to obtain the information
 Contributions,                     information necessary
                                                 necessary or to   properly allocate,
                                                                to properly    allocate, credit
                                                                                          credit and
                                                                                                 and record
                                                                                                       record
 such Contributions
       Contributions as necessary      administer the Fund, and (c) to enforce
                          necessary to administer                          enforce the Trustees' right to
 audit the
       the employer's    payroll records,
            employer's payroll   records, shall
                                          shall be
                                                be due
                                                    due totothe
                                                             theFunds    fromthe
                                                                 Fundsfrom      thedelinquent
                                                                                    delinquent employer.
                                                                                                   employer'
         shall include,
 These shall              but not
                include, but       belimited
                               notbe            to,fees
                                       limitedto,          incurredinindetermining,
                                                     feesincurred                          discovering and
                                                                          determining,discovering         and
 collecting
 collecting Contributions
            Contributions from
                            from the employer, arbitration
                                                 arbitration fees, filing fees, arbitrator's fees,   fees for
                                                                                               fees, fees
             proc.rr, travel, copying
 service of process,          copying charges,
                                       charges, postage, expert fees, and such such other
                                                                                     other costs
                                                                                             costs as
                                                                                                    as would
                                                                                                       would
                 charged to the Board(s)
 otherwise be charged                     of
                                 Board(s) of Trustees
                                             Trustees   to
                                                        to determine,
                                                            determine,  discover   and   collect
                                                                                         collect  any  of the
 amounts described herein.

                                               SECTION 7.
                                                       7.

                                                REPORTS
                                                REPORTS

        1. The Administrator
        1.           Administrator shall    prepare a delinquency
                                      shall prepare                     report to be
                                                         delinquency report       be presented   at each
                                                                                      presented at  each
 Board of Trustees meeting. The
          Trustees meeting.   The report
                                   reportshall   identify all
                                          shall identify   all delinquent
                                                               delinquent employers,
                                                                           employers, the
                                                                                      the amount
                                                                                          amount owed,
                                                                                                   owed,
     Due Date
 the Due        ofthe
          Date of  thedelinquent     Contributions and the steps
                        delinquent Contributions                       that have
                                                                 steps that have been
                                                                                  been taken   tocollect
                                                                                        taken to  collect
 delinquent Contributions
 delinquent                         determination of
             Contributions.. The determination       of the Board with respect to action        on such
                                                                                         action on  such
 Contributions, and the specific basis therefore, shall
                                                   shall be recorded in the minutes.

       2. The Administrator
       2.           Administrator shall maintain          of currently
                                         maintain aa file of currently effective  CBA's and
                                                                        effective CBA's   and other
                                                                                              other
 agreements
 agreements detailing the basis upon which employers
                                           employers are obligated
                                                           obligated to make Contributions.
                                                                               Contributions'

           3.
           3.        written settlements
                 All written                delinquencies shall
                             settlements of delinquencies             file in
                                                          shall be on file  in the
                                                                                theAdministrator's
                                                                                   Administrator's
 office.



 By:
           Chaim an
                                                          By:          Z-.f(Ð-
                                                                   Secretary
                                                                   Secretary



           Dated: ZiltiVdCie                              Dated:
                                                                        'l//r/r I
                                                                     4-09/09




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                                               EXHIBIT A

                                        DELINQUENCY NOTICE
                                  FIRST DELINQUENCY
                                  FIRST

                            Administrator on Fund
                                              Fund letterhead          th of
                                                   letterhead on the 55th of the month
         [To
         [To be sent by the Administrator
                     by the                                                  the month
         following the Due Date to delinquent
                                   delinquent employers]
                                              employersl


                                                                   DATE:


 [Employer
 fEmployer name and address]
                    address]

         RC: DELINQUENT
         Re:             CONTRIBUTIONS
             DELINQUE,NT CONTRIBUTIONS


 [President
 [President or Owner of Employer]:
                        Employer]:

       Your Pension, Health Fund
                            Fund and Training Fund
                                 and Training  Fund contributions
                                                     contributions and  remittance reports
                                                                   and remittance           for
                                                                                    reports for
 the month of                           received. Please
                          have not been received.  Pleasesend   yourcontributions
                                                          sendyour   contributions and
                                                                                   and reports
                                                                                       reports
 immediately.

         If the Funds
                 Funds do  not receive
                       do not           payment and
                                receive payment and the
                                                     the required   remittance reports
                                                          required remittance             by the
                                                                                 reports by   the fifteenth
                                                                                                   fifteenth
 (15'n) day of
 (15`h)       of this
                  thismonth,   your company
                      month, your             will be
                                     company will   beliable   forthe
                                                       liablefor    thedelinquent
                                                                         delinquentcontributions,
                                                                                       contributions, plus
                                                                                                        plus
                             of 10%
 interest at the annual rate of  10% from the due date
                                                  date (the
                                                        (the 20th
                                                             20'n of              following the month in
                                                                  of the month following
 which the hours were worked) and until the contributions             received in
                                                                 are received
                                                 contributions are                  this office. Once
                                                                                in this          Once thethe
 Funds receive the contributions, you will be billed for the interest.

         If your contributions               have been
                  contributions and reports have    been mailed,
                                                         mailed, please
                                                                 please disregard  this notice.
                                                                        disregard this             you
                                                                                        notice. If you
 employed
 employed no bargaining unit employees
                                 employees during the above
                                                        above period, please write "None" across
                                                                                            across the
 report and return
             return the report to the Funds Office.
                                            Office'

         Thank
         Thank you for your cooperation.
                            cooperation.

                                                          Sincerely,
                                                          Sincerely,




                                                          For the Boards of Trustees
                                                                            Trustees




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                                                     EXHIBIT B

                                           DELINQUENCY NOTICE
                                    SECOND DELINQUENCY

          [To                                                        L5th of
          [To be sent by the Administrator on Fund letterhead on the 15th of the month
          following the Due Date to delinquent employers]
                                               employersl

                                                                           DATE:

           MAIL, RETURN RECEIPT REQUESTED
 CERTIFIED MAIL,                REQUESTED

 [Employer
 fEmployer name and address]
                    address]

          RE: DELINQUENT
          Re: DELTNQUENT CONTRIBUTIONS
                         CONTRIBUTIONS—- SECOND NOTICE
 [President
 fPresident or Owner of Employer]:
                        Employer]:

         We have
         We   have already
                    already notified             youare
                                           that you
                             notified you that         aredelinquent
                                                           delinquent in  inmaking     yourrequired
                                                                              makingyour     required
 contributions
 contributions to the Sheet Metal Worker's Local
                                            Local 99 Pension,
                                                     Pension, Health
                                                              Health Fund
                                                                        Fund and
                                                                              and Training
                                                                                  Training Funds
                                                                                            Funds for
 the month of           . Your
                          Yourcompany
                               company also
                                         also has
                                              has not
                                                  not submitted
                                                       submitted the
                                                                  the required
                                                                       required remittance
                                                                                remittance reports.
                                                                                           reports.

        Due to   your failure
              to your   failure to
                                 tomake     timely contributions
                                     maketimely                     to the
                                                     contributions to   the Funds,
                                                                             Funds, you    must secure
                                                                                      You must    secure
                 letter of credit, or escrow deposit in the amount specified by the collective
 either a bond, letter  of credit,  or  escrow   deposit  in the amount    specified   by the collective
              agreement with
 bargaining agreement
 bargaining                       Local 9 (or, if
                            with Local           if none,  theamount
                                                    none, the   amount ininthe
                                                                            thecollective
                                                                                 collective bargaining
                                                                                             bargaining
 agreement between
             between Local 9 and       SMACNA), and on
                                 and SMACNA),              on terms
                                                              terms acceptable
                                                                    acceptable to to the
                                                                                     the Trustees,
                                                                                          Trusteeso and
                                                                                                     and
 provide evidence
 provide  evidence ofof the bond, letter       credit, or
                                     letter of credit,  or escrow  deposit to
                                                           escrow deposit       this offÏce.
                                                                             to this          You must
                                                                                      office. You   must
                                   letter of
 maintain the applicable bond, letter     of credit,
                                              credit, or
                                                      or escrow
                                                         escrovv deposit  until you
                                                                 deposit until  you have
                                                                                     have made
                                                                                           made timely
                                                                                                  timely
 contributions to the Funds forfor 12
                                    12 consecutive months.

          Further, because
                    because the Funds did did not
                                               not receive
                                                    receive payment
                                                            payment and
                                                                     and the
                                                                           the required
                                                                                required remittance
                                                                                            remittance reports
                                                                                                           reports
     the fifteenth
by the     fifteenth (15th)
                      (15th) day
                             day ofofthis
                                      thismonth,
                                            month,youryourcompany
                                                             company isisnow      liablefor
                                                                          nowliable        for the
                                                                                                .thedelinquent
                                                                                                      delinquent
cåntributions, plus
contributions,    plus interest
                        interest at
                                 at the annual
                                        annual rate of 10%10% from
                                                               from the due date (the  (the 20th   of the
                                                                                             20th of   the month
                                                                                                            month
following the month in which the hours
following                               hours were
                                                were worked)
                                                      worked) and
                                                               and until
                                                                   until the
                                                                         the contributions
                                                                               contributions are are received in
      office. Once
this office.    Once the
                      theFunds
                          Funds receive
                                 receive the
                                          the contributions,
                                               contributions, you will be
                                                              you will be billed
                                                                           billed for
                                                                                    for the interest.
                                                                                             interest.

         Finally, if we do not
        Finally,             not receive
                                   receive your    contributions and reports by the fifth (5th) day of
                                             your contributions                                                   of next
month, you will also be assessed
                            assessed latelate fees
                                              fees in
                                                   in the
                                                       the amount
                                                            amount of   of 5%5o/o ofof the
                                                                                        the delinquent
                                                                                            delinquent contributions
                                                                                                         contributions in
addition to
addition            interest due.
           to the interest    due. ThisThismatter       will also
                                               matter will      alsobe bereferred
                                                                              referred to  tothe
                                                                                               theFunds'
                                                                                                    Funds'attorney
                                                                                                             attorney for
                                                                                                                       for
collection,
collection, and, in that event, you may   may also
                                                also be
                                                      be liable
                                                          liable for
                                                                   for liquidated
                                                                         liquidated damages
                                                                                          damages equal
                                                                                                    equal to 20%
                                                                                                              20Yo of the
delinquent contributions,     interest, and
            contributions, interest,      and attorney's fees and costs.   costs. Moreover, your   your participation
                                                                                                         participation in
the Funds will be     terminated. This means that your employees
                  be terminated.                                    employees will cease to accrue     accrue benefits
                                                                                                               benefits in
the Pension Fund and will will lose
                                 lose their
                                       their health
                                              health coverage
                                                      coverage in    in the
                                                                        the Health
                                                                                Health FundFund when
                                                                                                 when their
                                                                                                        their hour
                                                                                                              hour banks
                                                                                                                    banks
run out. You may also      be
                      also be   liable
                               liable   for
                                        for  withdrawal
                                             withdrawal      liability
                                                             liability    to   the  Pension
                                                                                    Pension     Fund.
                                                                                                Fund.  Your
                                                                                                        Your  employees
                                                                                                               employees
will also no
           no longer
               longer be
                       be eligible
                          eligible for
                                     for apprenticeship
                                           apprenticeship or   or other
                                                                  other training
                                                                            training by  by the
                                                                                             the Training
                                                                                                 Training Fund.
                                                                                                            Fund. Unless
                                                                                                                   Unless
we receive the delinquent
                  delinquent contributions
                               contributions due,           will be
                                                 due, we will      be required
                                                                       required to notify notify your
                                                                                                 your employees
                                                                                                        employees of the
pending loss of their benefits as   as well.
                                       well. Termination
                                               Termination of   of participation
                                                                   participation will not     not relieve
                                                                                                  relieve your
                                                                                                           your company
   its obligation
of its obligation to
                   to pay
                       pay contributions
                            contributions pursuant
                                               pursuant toto the
                                                               the terms
                                                                    terms of   of the
                                                                                   therelevant
                                                                                         relevant collective
                                                                                                   collective bargaining
                                                                                                               bargaining
agreement.
agreement.



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         We trust that
                   that you   willforward
                        you will              yourcontributions
                                    forward your     contributions and
                                                                    and reports   immediately.Prompt
                                                                         reports immediately.   Prompt
 action on your
            your part
                 part can
                      can minimize    your liability,
                           minimize your    liability, as well as
                                                       as well as ensure
                                                                  ensure that  your employees
                                                                          that your  employees continue
                                                                                               continue
 to receive
    receive the benefits
                benefits of  participation in the
                          of participation     the Sheet   Metal Workers'
                                                    Sheet Metal              Local 99Employee
                                                                  Workers' Local                Benefit
                                                                                      Employee Benefit
 Funds.

                                                        Sincerely,
                                                        Sincerely,


                                                        For the Board of Trustees
                                                                         Trustees




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                                                    EXHIBIT C

                             TERMINATION NOTICE
                             TERMINATION        NOTICE TO EMPLOYER
                         [To
                         [To be sent by the Administrator on Fund letterhead
                          by the 5th
                                 5th of
                                     of the
                                        the month following the
                                            month following            noticel
                                                            the second notice]

                                                                     Date:

 BY CERTIFIED MAIL
 RETURN
 RETURN RECEIPT REQUESTED
                REQUESTED

 [Employer]
 [Employer]
 [address]
 Iaddress]

         Re: Sheet
             Sheet Metal
                   Metal Workers'
                         Workers'Local
                                  Local99Benefit
                                          BenefitFunds - TERMINATION
                                                  Funds— TERMINATION NOTICE


 [President
 fPresident or Owner of Employer]:
                        Employer]:

        This is   toadvise
              is to         youthat
                     adviseyou         duetotoyour
                                 thatdue        yourCompany's      failuretotopay
                                                      Company'sfailure          paythe
                                                                                     theoutstanding
                                                                                           outstanding
 delinquencies  owed to the Sheet
 delinquencies owed                                  Local 99 Benefit
                            Sheet Metal Workers' Local        Benefit Funds,   the Company
                                                                       Funds, the  Company will be
 terminated
 termiãated from participation in the Sheet                    Local 99 Pension
                                      Sheet Metal Workers' Local        Pension Trust,
                                                                                 Trust, the
                                                                                         the Colorado
                                                                                             Colorado
 Sheet Metal Workers'    Local 99 Health
               Workers' Local      Health Fund
                                           Fundand    theColorado
                                                  andthe   ColoradoState
                                                                       StateSheet   MetalWorkers'
                                                                             SheetMetal      Workers'
 Training Fund 30 days from the date of this letter.

         Termination
         Termination means that your covered employees
                                                 employees will cease
                                                                   cease to accrue
                                                                            accrue pension
                                                                                    pension benefits for
                             Trust.Also,
 retirement in the Pension Trust.
 retirement                         Also,because     yourcovered
                                           because your   covered employees
                                                                    employees have
                                                                                 have not
                                                                                      not been
                                                                                           been credited
                                                                                                 credited
 with hours for
             for the months
                     months for
                             for which you have
                                 which you   have not
                                                  not made
                                                      made contributions
                                                            contributions toto the
                                                                               the Health
                                                                                   Health Fund
                                                                                           Fund on
                                                                                                 on their
 behalf,
 behalf, their health coverage
                      coverage under the Health
                                             Health Fund   will terminate
                                                     Fund will   terminate when
                                                                            when they    no longer
                                                                                   they no   longer have
                                                                                                     have
 sufficient hours under
                   under the hour bank to maintain coverage. Your  Your employees    will also
                                                                         employees will   also no
                                                                                               no longer
                                                                                                   longer
 be eligible for apprenticeship
                 apprenticeship or other training from the Training Fund.

          However, if the Benefit
                           Benefit Funds
                                     Funds receive
                                           receive the    full amount
                                                      the full amount of of contributions
                                                                            contributions due,  plus interest,
                                                                                           due, plus   interest,
 the Boards
 the          of Trustees
      Boards of             may, in
                  Trustees may,    intheir
                                      theirdiscretion,
                                            discretion, reinstate     theCompany's
                                                           reinstate the                 participation in the
                                                                           Company's participation           the
                 retroactively to the date of termination. Termination
 Benefit Funds retroactively                                     Termination of    participation,
                                                                               of participation, should
                                                                                                  should that
                                                                                                            that
                          your Company
 occur, will not relieve your  Company of  of its
                                               its obligation
                                                   obligation to   pay contributions
                                                                to pay  contributions pursuant
                                                                                       pursuant to the terms
    the relevant
 of the           collective bargaining
        relevant collective  bargaining agreement.
                                          agreement. In   In addition,   your Company
                                                              addition, your   Company may may bebe liable   for
                                                                                                     liable for
 any applicable   withdrawal liability
      applicable withdrawal               due to
                                liabilitydue            Pension Trust as aa result
                                                 to the Pension                         of your
                                                                                result of   your Company's
                                                                                                  Company's
                participation in the Pension Trust.
 termination of participation

                                 your Company
         We sincerely hope that your          will take
                                      Company will take the
                                                        the responsible path and
                                                            responsible path     promptly bring
                                                                             and promptly
 its accounts with the Funds current.
                             current.

                                                            Sincerely,
                                                            Sincerely,

                                                            For the Boards of Trustees
                                                                              Trustees




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                                                EXHIBIT D

                           TERMINATION NOTICE
                           TERMINATION                      EMPLOYEES
                                               NOTICE TO EMPLOYEES
                        [To
                        [To be sent  by  the Administrator on Fund letterhead
                                    of the
                         by the 5th of the month following the second notice!
                                           month following            noticel

                                                                    Date :

 [Employee]
 [Employee]
 [address]
 Iaddress]

         Re: [Employer]
         Re:            - TERMINATIO
             fEmployer] — TERMINATIONN NOTICE

 Dear Participant:
      Participant:

                      of Trustees
               Board of
         The Board       Trustees ofof the
                                        theColorado
                                            Colorado Sheet      Metal Workers'
                                                        Sheet Metal                    Local 99Health
                                                                          Workers' Local         Health Fund
                                                                                                          Fund
            inform you that, because
 regrets to inform                     your employer
                             because your    employer isis delinquent
                                                            delinquent in in its
                                                                              its contributions
                                                                                  contributions to the Health
                                                                                                        Health
 Fund, your employer
               employer will be
                              be terminated     unless the Health
                                  terminated unless          Health Fund receives the full    full amount
                                                                                                    amount of
 contributions  owed, plus
 contributions owed,        interest, within
                       plus interest,  within 30 days. You have not   not been been credited  with hours
                                                                                     credited with          for
                                                                                                     hours for
 which your employer did not make a contribution
                                          contribution to  the Health   Fund.     This  means  that
                                                                                   This means that   your
                                                                                                    your  hour
 bank is, or may soon be, exhausted, and your coverage will terminate.
                                                                   terminate. Unfortunately,
                                                                                   Unfortunately, the
                                                                                                    the Health
                                                                                                        Health
 Fund cannot continue
               continue to cover you and
                           cover you        your dependents
                                       and your                 unless itit receives
                                                  dependents unless         receives contributions
                                                                                       contributions from the
 Company
 Company that it owes on your behalf.
                                 behalf.

         The Board of Trustees
                         Trustees of thethe Sheet
                                             Sheet Metal   Workers' Local
                                                    Metal Workers'      Local 99Pension    Trust has
                                                                                  Pension Trust    has taken
                                                                                                        taken
         action.The
 similar action.   TheTrustees
                        Trustees have     notifiedthe
                                    havenotified    theCompany
                                                        Company thatthat its                 in the
                                                                              participation in
                                                                          itsparticipation       thePension
                                                                                                     Pension
        will be
 Trust will  beterminated
                 terminated in in thirty   (30)days
                                   thirty (30)         forfailure
                                                 daysfor    failuretotomake
                                                                         makeitsitscontractually
                                                                                     contractuallyrequired
                                                                                                    required
 contribution to
 contribution         Pension Trust.
               to the Pension              After that
                                 Trust. After     thatdate,
                                                       date,you     willnot
                                                              youwill     notaccrue
                                                                               accrueany   further pension
                                                                                       anyfurther    pension
            You will not, however,
 benefits. You
 benefits.      will not, however,     lose any  pension
                                                 pension   benefits  that
                                                          benefits that    have
                                                                          have  already vested. You will
                                                                                 already  vested.  You    will
      no longer
 also no  longer be            toreceive
                     eligible to
                 beeligible        receiveapprenticeship
                                            apprenticeship oror other
                                                                 other training   from the
                                                                        training from   theColorado
                                                                                            Colorado State
                                                                                                         State
 Sheet Metal
       Metal Workers' Training
                         Training Fund.

        The Boards of Trustees regret
                                  regret having to take
                                                   take this
                                                        this action, but cannot
                                                             action, but  cannot continue
                                                                                  continue to   provide
                                                                                            to provide
                                   for.To
 benefits that have not been paid for.   Todo
                                            doso
                                               sowould
                                                  wouldundermine
                                                          undermine the
                                                                      thefinancial
                                                                          financial well-being
                                                                                     well-being of the
 Funds and
        and harm
             harm other  participants whose
                   other participants whose employers
                                              employers are
                                                         aremeeting
                                                              meeting their
                                                                        theircontractual
                                                                              contractual obligations.
                                                                                           obligations.
 Accordingly, the Trustees are compelled                            participation in
                                compelled to end your employer's participation     in the
                                                                                      the Funds.
                                                                                          Funds'

        If you have any
                     any questions
                         questions either
                                   either about your hour
                                          about your hour bank
                                                           bank and eligibility in
                                                                and eligibility in the
                                                                                   the Health
                                                                                        Health Fund
                                                                                               Fund
or your benefits in
                 in the Pension
                        Pension Trust
                                Trust or
                                      or Training
                                         Training Fund,
                                                  Fund, please
                                                        please contact
                                                               contact the
                                                                       the Funds
                                                                           Funds Office.
                                                                                   Offrce.

                                                            Sincerely,
                                                            Sincerely,


                                                           For the Boards of Trustees
                                                                             Trustees




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                                                    EXHIBIT E
                         FINAL TERMINATION
                         FINAL   TERMINATION NOTICENOTICE TO EMPLOYER
                         [To
                         [To be sent by the Administrato
                                            Administratorr on Fund letterhead
                                30 days after the Termination Notice]
                                                               Noticel
                                                                Date:
                                                                Date:

 BY CERTIFIED MAIL
 RETURN
 RETURN RECEIPT REQUESTED
                REQUESTED

 [Employer]
 IEmployer]
 [address]
 Iaddress]

           Metal Workers'
 Re: Sheet Metal          Local 9gBenefit
                 Workers' Local   BenefitFunds
                                          Funds— FINAL TERMINAT
                                               - FINAL              NOTICE
                                                                ION NOTICE
                                                       TERMINATION

 [President
 [President or Owner of Employer]:
                        Employer]:

        This is   toadvise
              is to         youthat
                     adviseyou         duetotoyour
                                 thatdue       yourCompany's      failuretotopay
                                                    Company'sfailure          paythe
                                                                                   theoutstanding
                                                                                          outstanding
 delinquencies owed to the Sheet Metal Workers'
 delinquencies owed                                Local 99 Benefit
                                         Workers' Local     Benefit Funds,
                                                                    Funds, the
                                                                            the Company
                                                                                Company has  has been
 terminated from participation in the Sheet Metal Workers' Local
                                                             Local 99 Pension
                                                                      Pension  Trust,
                                                                                Trust, the  Colorado
                                                                                        the Colorado
               V/orkers' Local 99 Health
 Sheet Metal Workers'                     Fund and
                                   Health Fund       theColorado
                                                 andthe    ColoradoState
                                                                     StateSheet    MetalWorkers'
                                                                            SheetMetal      Vy'orkers'
 Training Fund effective
 Training

         Your  employees will
         Your employees    will also    notified of the termination.
                                also be notified        termination. This
                                                                      This means
                                                                             means that   your covered
                                                                                     that your   covered
 employees will not accrue pension
 employees                    pension benefits for retirement in the Pension Trust after the date of
 termination. Also,
 termination.  Also, because   your covered
                      because your   covered employees
                                              employees have   not been
                                                          have not been credited    with hours
                                                                          credited with           for the
                                                                                           hours for
 months for which
 months              you  have  not made
                          have not   made contributions
                                           contributions to the  Health Fund
                                                             the Health   Fund onon their
                                                                                     their behalf,
                                                                                            behalf, their
                                                                                                     their
 health coverage under the Health Fund    will terminate
                                     Fund will terminate when they nono longer
                                                                         longer have
                                                                                 have sufficient
                                                                                       sufficient hours
                                                                                                   hours
                        to maintain
                  bank to
 under the hour bank        maintain coverage.    Youremployees
                                      coverage.Your                 also are
                                                         employees also         nolonger
                                                                           are no  longereligible      for
                                                                                             eligible for
 apprenticeship
 apprenticeship or other training
                         training from the Training Fund.
                                                     Fund'

                                your employees'
                     restore your
        You may restore                              benefits in the
                                       employees' benefits            the Funds,     retroactive to
                                                                           Funds, retroactive        to the date of  of
termination, if you pay the full
termination,                    full amount   of contributions
                                      amount of   contributions owed,
                                                                    owed, plus interest,
                                                                                  interest, to
                                                                                             to the
                                                                                                 the Funds,
                                                                                                     Funds, and the
Trustees, in their sole discretion,
Trustees,                                accept your
                           discretion, accept           request to
                                                 your request      to participate    again in
                                                                      participate again          the Funds.
                                                                                             in the  Funds. Please
                                                                                                                Please
           your Company's
note that your                   termination in
                 Company's termination         in the
                                                   the Funds
                                                        Funds does
                                                                 does notnot affect   anylegal
                                                                              affect any   legal proceedings
                                                                                                   proceedings thatthat
have been, or or may
                 may be,be,instituted    tocollect
                             instituted to   collect delinquent      contributions. The
                                                      delinquent contributions.           TheTrustees
                                                                                                Trustees expressly
                                                                                                            expressly
reserve
reserve their right toto pursue     legalaction
                          pursue legal            tocollect
                                          action to   collectsuch
                                                               suchcontributions,
                                                                       contributions, plusplusinterest,    liquidated
                                                                                                interest, liquidated
damages, attorneys'
damages,    attorneys' fees,    and costs.
                         fees, and    costs. InInanyanyevent,
                                                         event,the      terminationofofparticipation
                                                                  thetermination           participation doesdoes not
                                                                                                                    not
relieve your Company
              Company of its obligation           pay contributions
                                   obligation to pay    contributions pursuant to the terms of       of the relevant
                                                                                                              relevant
collective bargaining
collective  bargaining agreement.
                          agreement. In  In addition,    your Company
                                             addition, your    Company may    may bebe liable   for any
                                                                                        liable for   anyapplicable
                                                                                                          applicable
withdrawal li;bility
withdrawal               due to
              liability due    to the Pension Trust as    as aa result
                                                                 result ofofyour
                                                                              yourCompany's
                                                                                     Company'stermination
                                                                                                     termination of  of
participation in the Pension Trust.
participation

                                                                Sincerely,
                                                                Sincerely,
                                                                For the Boards of Trustees
                                                                                  Trustees




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                                                EXHIBIT F

                       FINAL TERMINATION
                       FINAL   TERMINATION NOTICE              EMPLOYEES
                                                  NOTICE TO EMPLOYEES
                        [To
                        [To be sent by the Administrator on Fund  letterhead
                                        after the
                                30 days after                 Noticel
                                              the Termination Notice]

                                                                    Date :

 [Employee]
 [Employee]
 [address]
 Iaddress]

         Re: [Employer]
         Re:            - FINAL
             [Employerl — FINALTERMINATION
                                TERMINATION NOTICE

 Dear Participant:
      Participant:

        We regret
        We           toinform
             regret to          youthat,
                        inform you   that,because    youremployer
                                           because your     employer is   delinquent in
                                                                      isdelinquent    in its
                                                                                          its
 contributions to the Sheet Metal Workers' Local
 contributions                             Local 99 Benefit
                                                    Benefit Funds, your  employer has
                                                            Funds, your employer  has been
                                                                                        been
 terminated from
 terminated  from the Sheet Metal   'Workers' Local
                             Metal Workers'   Local 99 Pension  Trust, the
                                                       Pension Trust,   theColorado
                                                                            Colorado Sheet
                                                                                       Sheet
        Workers' Local 99 Health
 Metal Workers'             Health Fund
                                   Fund and   theColorado
                                         andthe    ColoradoState
                                                              StateSheet
                                                                    SheetMetal   \ilorkers'
                                                                           MetalWorkers'
 Training Fund, effective

                                will not
         This means that you will    not accrue
                                         accrue pension
                                                  pension benefits    for retirement
                                                           benefits for   retirement inin the
                                                                                          the Pension
                                                                                               Pension Trust
                                                                                                         Trust
                                       willnot,
                                 Youwill
 after the date of termination. You         not,however,
                                                 however, lose
                                                            loseany
                                                                 any pension
                                                                       pension benefits
                                                                                 benefits that
                                                                                           that have
                                                                                                have already
                                                                                                       already
           Also,because
 vested.Also,
 vested.                  youhave
                 because you          notbeen
                                havenot    beencredited    with hours
                                                 credited with   hours forfor the
                                                                               themonths
                                                                                   months forfor which    your
                                                                                                 which your
 employer
 employer did not make
                     make contributions
                           contributions to the
                                              the Health
                                                   Health Fund
                                                           Fund on     your behalf,
                                                                  on your            your health
                                                                             behalf, your   health coverage
                                                                                                    coverage
 under the Health
            Health Fund   will terminate
                     Fund will terminate when     you no
                                           when you   no longer
                                                          longer have
                                                                   have sufficient
                                                                          sufftcient hours
                                                                                      hours under
                                                                                              under the
                                                                                                     the hour
                                                                                                          hour
 bank to maintain coverage.
                     coverage.You
                                Youalso
                                      alsoare
                                           arenonolonger
                                                   longereligible    forapprenticeship
                                                           eligible for   apprenticeship or or other
                                                                                               other training
                                                                                                      training
 from the Training
           Training Fund.

        The Boards of Trustees
                        Trustees regret
                                  regret having
                                         having to
                                                to take
                                                   take this
                                                         this action, but cannot
                                                              action, but  cannot continue
                                                                                   continue to   provide
                                                                                             to provide
                                   for.To
 benefits that have not been paid for.  Tododoso
                                               sowould
                                                  wouldundermine
                                                          undermine thethefinancial
                                                                           financial well-being
                                                                                     well-being of of the
                                                                                                      the
 Funds and   harm other
        and harm         participants whose
                   other participants whose employers
                                              employers are
                                                          aremeeting     theircontractual
                                                               meeting their   contractual obligations.
                                                                                            obligations.
 Accordingly, the Trustees were compelled                              participation in
                                  compelled to end your employer's participation     in the
                                                                                        the Funds.

        Your benefits in the Funds may may be  fully restored,
                                            be fully restored, retroactive
                                                               retroactive to the date
                                                                                    date of               if
                                                                                         of termination, if
 your employer pays the fullfull amount  of delinquent
                                 amount of   delinquent contributions,
                                                         contributions, plus interest,
                                                                               interest, to the
                                                                                             the Funds
                                                                                                 Funds and
                                                                                                       and
 the Trustees, in their discretion, accept the employer's request
                                                            request to
                                                                     to participate
                                                                        participate again
                                                                                     again in
                                                                                            in the
                                                                                               the Funds.
                                                                                                   Funds.

        If you have any
                      any questions,
                          questions, either
                                     either about
                                            about your
                                                   your hour
                                                        hour bank
                                                             bank and  eligibility in
                                                                   and eligibility in the
                                                                                      the Health
                                                                                           Health Fund
                                                                                                  Fund
 or your benefits in
                  in the Pension
                         Pension Trust
                                 Trust or
                                        or Training
                                           Training Fund,
                                                    Fund, please
                                                          please contact
                                                                 contact the
                                                                          the Funds
                                                                              Funds Office.
                                                                                      Office.

                                                           Sincerely,
                                                           Sincerely,


                                                           For the Boards of Trustees
                                                                             Trustees




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                                                   EXHIBIT G

                   DELINQUENCY NOTICE
                   DELINQUENCY        FOLLO\ilING PAYROLL AUDIT
                               NOTICE FOLLOWING

                      by the
                 sent by
          [To be sent         Administrator on
                          the Administrator on Fund
                                               Fund letterhead        approval by the
                                                     letterhead after approval
                   Trusteesl
          Board of Trustees]

                                                                       DATE:
                                                                       DATE:
 Certified
 Certified Mail, Return Receipt Requested
                                Requested

 [President
 fPresident or Owner
               Owner of Employer]
                        Employer]

          Re: Delinquent Contributions Discovered
          Re:                                     During Payroll Audit
                                       Discovered During

 Gentlemen:
 Gentlemen:

              you know,
          As you           the Sheet
                   know, the          Metal Workers'
                                Sheet Metal             Local99Benefit
                                              Workers' Local      Benefit Funds    recently conducted
                                                                           Fundsrecently      conducted a
           review to verify
 payroll review                  accuracy of
                      verify the accuracy  of your
                                              your company's
                                                    company's contributions
                                                               contributions to   the Funds.
                                                                              to the  Funds. As As aa result
                                                                                                      result
     this review,
 of this   review, certain  discrepancies in
                    certain discrepancies      hours reported
                                            in hours           were found.
                                                      reported were            You have
                                                                      found. You             reviewed the
                                                                                      have reviewed      the
 results       agreed that contributions
 results and agreed        contributions are
                                          are due  and owing
                                              due and  owing to  the Funds.
                                                              to the Funds. Enclosed
                                                                             Enclosed is is aa schedule
                                                                                               schedule of
 the contributions due.
                     due.

         According to
         According      to the Funds'
                                  Funds' Collection      Policy, an employer
                                           Collection Policy,         employer that is    is delinquent
                                                                                              delinquent in its  its
 contributions to
 contributions    to the  Funds is liable for interest
                      the Funds                   interest at the rate ofof 10%
                                                                             l0%operper annum,
                                                                                         annum, and     late fees
                                                                                                   and late   fees
 (liquidated damages)
 (liquidated  damages) at      the rate of 5%
                           at the          5o/o of contributions
                                                   contributions due.
                                                                   due. However,
                                                                          Howevet, in in view
                                                                                          view ofof the
                                                                                                    the fact
                                                                                                         fact that
                                                                                                               that
 your company generally
                  generally remits contributions
                                      contributions   to the Funds  on
                                                             Funds on a a timely  basis,
                                                                                   basis, and  does
                                                                                           and does  not  dispute
 the principal amount due, the Boards of Trustees of the Funds    Funds have agreed          waive the late fees
                                                                                 agreed to waive
 in the amount
        amount of $  $          , provided  payment    of the principal   and  interest in  the total amount of
 $-isreceivedbytheFu
              is received byndswithin60daysofth
                                 the Funds within 60 daysis1etter.Pleasemake
                                                              of this letter. Please makeyourcheckfor$
                                                                                              your check for $
                                                  'Workers' Local
                                                              Local 99 Benefit                          it to
                                                                                                           to my
               payable to the
              payable        theSheet     Metal Workers'
                                   Sheet Metal                           Benefit Funds
                                                                                   Funds and send it            my
 attention at the address above.
                            above.

        Thank you for your cooperation. IfIf you
                                              youhave  anyquestions,
                                                  haveany  questions, please
                                                                      please contact
                                                                             contact me at
                                                                                        at the
                                                                                           the
 address above.

                                                              Sincerely,
                                                              Sincerely,




                                                              For the Board of Trustees
                                                                               Trustees
 Enclosure
 cc: Trustees
 cc:    Trustees
        Fund Counsel




                                                        t7
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                                              EXHIBIT H

                           SHEer Mprel
                           SHEET               Locnl 9 BENEFIT
                                       WomnRs LOCAL
                                 METAL WORKERS                 Ftxls
                                                       BsNpFlr FUNDS

                                    Summary of Delinquency Policy



               Due Dates                                Actions                           Example
                                                                                          Example
 20th               following
 20th of the month following     Contributions                 ("Due Date").
                                 Contributions and Reports due ("Due Date")' May
                                                                             May hours and
 period for which
             which contributions
                   contributions                                             contributions
                                                                             contributions due
 owed
 owed                                                                        June 20

 5th
 5th of
     of the next month              I't Delinquency
                                    1st Delinquency Notice sent by Funds Office. Iuly 55
                                                                         Office. July
                                    (Exhibit A)
                                    (Exhibit
 15th
 15th of the same month             2nd
                                    2nd Delinquency Notice sent by Funds Office.     Iuly 15
                                                                             Office. July 15
 (10            l't Notice)
 (10 days after 1St Notice)         Employer
                                    Employer must secure bond,
                                                            bond, letter of credit,
                                    or
                                    or escrow deposit (for at least 12
                                                                    12 months).
                                                                       months).
                                    Interest
                                    Interest now assessed
                                                 assess ed at 10%
                                                              I0%o (starting on Due
                                    Date). (Exhibit B)
 5th
 5th of
     of second month after Due      Late fees now assessedat
                                                   assessed at 5%   ofthe
                                                               5o/o of the            Aug.55
                                                                                      Aug.
 Date                               contributions due.
                                                  due.
 (10 days
 (10  days after
           after 2nd
                 2nd Notice)
                     Notice)
                                    Referred to counsel (if contributions, interest
                                    and late fees combined
                                                  combined for all Funds are more
                                    than $1,000).

                                                   participants advising of
                                    Letter sent to participants
                                    potential      of benefits.
                                    potential loss of            Letter sent to
                                                       benefits. Letter
                                    employer
                                    employer advising of termination within 30
                                    days.  (ExhibitsC&D)
                                    days.(Exhibits    C & D)

 By the 20th of the second          Attorney
                                    Attorney demand letter sent.                      Aug.20
                                                                                      Aug. 20
 month after the Due Date
 51h
 5th of third month after the Due Employer   terminated. Final
                                  Employer terminated.   Final Termination
                                                               Termination      Sept.
                                                                                Sept. 5
 Date (30 days after Termination
                      Termination Notice to employer
                                  Notice to employer and
                                                      and employees.  (Exhibits
                                                           employees. (Exhibits
 Notice)                          E&F)
                                  E & F)
 10th
  lOth of third month after the     Suit
                                    Suit filed for contributions, interest,       Sept. 10
                                                                                  Sept.10
 Due
  Due Date                          liquidated
                                    tiquidated damages (equal to interest or 20%
                                                                             20Yo
 (20
  i20 days after attorney's Final   of
                                    cf contributions, in lieu of late fees),
 Notice)
  ),lotice)                         attorney's
                                    nttorney's fees
                                                fees and
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                  SHEET METAL WORKERS LOCAL 9 PENSION TRUST
              COLORADO SHEET METAL WORKERS’ LOCAL 9 HEALTH FUND
              COLORADO STATE SHEET METAL WORKERS TRAINING FUND

                                 Amendment 1 to
                                  POLICY FOR
                    COLLECTION OF DELINQUENT CONTRIBUTIONS

         WHEREAS, the Sheet Metal Workers’ Local 9 Pension Trust (“Pension Fund”), the
  Colorado Sheet Metal Workers’ Local 9 Health Fund (“Health Fund”), and the Colorado State
  Sheet Metal Workers Training Fund (“Training Fund”) adopted a Policy for Collection of
  Delinquent Contributions (“Policy”), revised effective April 2018; and

         Whereas, due to the state of emergency declared by the governor of Colorado and the
  economic impact of the COVID-19 pandemic, the Pension Fund, Health Fund, and Training
  Fund desire to amend the Policy to temporarily extend the due date for remittance of employer
  contributions;

         Now Therefore, effective March 20,2020, the Policy is amended as follows:

         1.     The Due Date for Contributions due for work performed in February 2020 is
  extended by one month (from March 20, 2020 to April 20, 2020), provided the Funds receive the
  employer’s remittance report reflecting hours worked in February 2020 by no later than April 5,
  2020.

           2.    If the Funds receive an employer’s Contributions for work performed in February
  2020 by no later than April 5, 2020, the Due Date for Contributions due for work performed in
  March 2020 is extended by one month (from April 20, 2020 to May 20, 2020), provided the
  Funds receive the employer’s remittance report reflecting hours worked in March 2020 by no
  later than May 5, 2020.


          In Witness Whereof, the undersigned have set their hands and seals as of the dates
  written below.

  Sheet Metal Workers’ Local 9 Pension Trust


              •Cr
  Signature                                                 Dati


                                                               3/20/2020
  Signature                                                 Date
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  Colorado Sheet Metal Workers’ Local 9 Health Fund


                    \
  Signature     r                                     Date


   f\l (/^-^\                                           03/20/2020
  Signature                                           Date



  Colorado State Sheet Metal Workers Training Fund



  Signature                                           Date


  f\j                                                   03/20/2020
  Signature                                           Date
  20820554vI




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                          EXHIBIT C
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             Professional services rendered in connection with the audit of:

                            American Veteran Heating & Air
                               6847 Red Cardinal Loop
                             Colorado Springs, CO 80908

                               Employer Number: 10295

                       January 1, 2020 through March 31, 2023
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                                                                    SMART Local 9
                                                         Compliance Audit Information Sheet

Employer's Name:                American Veteran Heating & Air

Employer Number:                10295

FEIN #:

Business Address:               6847 Red Cardinal Loop

City/State/ Zip Code:           Colorado Springs, CO 80908

Business Phone Number:          719-208-5721

Business Fax Number:            Not provided

E-Mail Address:                 info@americanveteranheatingandair.com

Contact's Name:                 Brandy Conway                                                    Title: Not provided

Person Fund is to contact:      Brandy Conway                                                    Title: Not provided

Organization Type:                                Sole Proprietor                      Corporation                      Partnership

                                                  LLC                                  LLP                    XX        Not Provided

Main Business Activity:         Not provided

Ownership - Principals (Officers, Owners and/or Partners):

Name                                           Title                 % of Ownership                                Address

Not provided




Are any of the above owners reported to SMART Local 9?
                                         Yes Not provided
                                          No

Workman's Compensation Policy #                   Not provided

Insurance Company                                 Not provided

Insurance Agent                                   Not provided

Fringe Benefit Bond Information

           Surety Company                         Not provided

           Address                                Not provided

           Bond Number                            Not provided

           Copy of Bond                      Yes
                                              No XX

Banking facilities used                     Name Not provided
                                        Account # Not provided
                               Business Address: Not provided
                             City/State/ Zip Code: Not provided

Are the Owners/Officers affiliated with any other company?
                                            Yes Not provided
                                             No
If yes, list the name of the company(s):


Is the company still in business?
                                             Yes Not provided
                                              No                    Date of Closure?
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                                                                   SMART Local 9
                                                       Compliance Audit Information Sheet

Audit Site (If different from employer's address):
                                                                   Legacy Professionals LLP
                                                                   4 Westbrook Corporate Center, Suite 700
                                                                   Westchester, IL 60154




All required accounting records were available with the exception of:
The check register.




Briefly describe the nature of the delinquency, if any:
The employer did not report all hours and did not report all eligible employees.
Covered employees were issued a 1099 in 2020 and are included in our report.




Did your examination uncover anything special or unusual which should be brought to the attention of the fund or other interested persons?

                          Yes          X                      No

If yes, explain:             We were not provided the check register however we were provided a sample of bank statements and found
nothing unusual.
Some covered employees were issued a 1099 in 2020. We attempted to contact the employer to discuss what the payments were for.
The employer never responded therefore we include the payments in our report. To calculate hours owed, we divided the 1099 amount
by the employees wage rate they were paid on the payroll in 2020 and rounded the hours to the nearest whole number.

There were no assessments reported to the fund after July 2022.




Auditor:    Anthony Feola
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                                                                    SMART Local 9 Benefit Funds
                                                                       Reconciliation of Differences per Year


Calendar Year Ending                        2020                      2021                2022                   2023                   Total Due

                           H&W                 11,018.08                    13,372.43       10,004.08                  5,457.64         $39,852.23
                  Local Pension                  3,160.52                     3,952.53        4,110.52                 2,322.54         $13,546.11
           Loc. Pen Non-Accrual                    146.17                       168.58          158.17                    95.63           $568.55
                           IFUS                    357.10                       342.99          364.37                   249.88          $1,314.34
                            PSL                -                                252.56          291.69                   190.43           $734.68
                      Drug Test                     68.30                        72.30           52.51                    24.35           $217.47
                  Local Training                   801.55                       996.47        1,039.68                   642.96          $3,480.66
                    Assessment                   1,490.33                     1,497.05        5,281.07                 1,827.49         $10,095.94
                        Vacation                 1,334.25                     1,604.62        1,515.30                   737.40          $5,191.57
                   Vol. Vacation               -                            -               -                      -                         -

Total Amount Due                               18,376.29                    22,259.53       22,817.39             11,548.32         -   $75,001.53

Employer Name:                     American Veteran Heating & Air                            Person Contacted:     Brandy Conway

Employer #:                        10295                                                     Date of Contact:      August 1, 2023

Audit Start Date:                  October 4, 2023                                           Telephone:            719-208-5721

Audit Period :                     January 1, 2020 through March 31, 2023                    Auditor:              Anthony Feola
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                                                                                                     SMART Local 9 Benefit Funds
                                                                                                                          Schedule of Amounts Due




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Oct-22         VIGIL, DANTE       B        Classified Worker 55%   169.00                                           -                             -                                   -                           -                    -                      -                               -               $0.76         $128.44                          -          $128.44
Nov-22         VIGIL, DANTE       B        Classified Worker 55%   141.00                                           -                             -                                   -                           -                    -                      -                               -               $0.76         $107.16                          -          $107.16
Dec-22         VIGIL, DANTE       A        Classified Worker 55%    2.03      4.05                   $7.41       $15.04       $3.15            $6.39            $0.17             $0.35              $0.53     $1.08        $0.19    $0.39   $0.03          $0.06          $1.17           $2.38                                -              $0.55      $2.23         $27.91
Dec-22         VIGIL, DANTE       B        Classified Worker 55%   185.78                                           -                             -                                   -                           -                    -                      -                               -               $0.76         $141.19                          -          $141.19
Jan-23         VIGIL, DANTE       A        Classified Worker 55%   26.50     28.00                   $7.41       $196.37      $3.15            $83.48           $0.17             $4.51              $0.53     $14.05       $0.19    $5.04   $0.03          $0.80          $1.17           $31.01                               -              $0.55      $15.40        $350.63
Jan-23         VIGIL, DANTE       B        Classified Worker 55%   146.50                                           -                             -                                   -                           -                    -                      -                               -               $0.76         $111.34                          -          $111.34
Feb-23         VIGIL, DANTE       A        Classified Worker 55%   33.25     36.00                   $7.41       $246.38      $3.15        $104.74              $0.17             $5.65              $0.53     $17.62       $0.19    $6.32   $0.03          $1.00          $1.17           $38.90                               -              $0.55      $19.80        $440.41
Feb-23         VIGIL, DANTE       B        Classified Worker 55%   153.25                                           -                             -                                   -                           -                    -                      -                               -               $0.76         $116.47                          -          $116.47
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                          SMART Local 9
            American Veteran Heating & Air
                               Non-Reported List
   SSN (Last 4)         Name             Job Description             Union (if applicable)
                  CAVITT, TANYA     Office Worker
                  CONWAY, AARON     Residential Materials Handler ***Included in our report
                  DUGGAN, DAMIAN    Residential Materials Handler ***Included in our report
                  GILLIS, BRADLEY   55% Classified Worker, Appendix A ***Included in our report
                  GUERRA, DONNA     Office Worker
                  LERNER, WENDY     Office Worker
                  PETRONI, JAMES    Residential Materials Handler ***Included in our report
                  POGUE, AMANDA     Office Worker
                  THOMPSON, DAWN    Office Worker
                  TICE, STEVE J     Residential Materials Handler ***Included in our report
